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 1   Todd M. Friedman (SBN 216752)
     Adrian R. Bacon (SBN 280332)
 2   LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 3   21550 Oxnard St., Suite 780
     Woodland Hills, CA 91367
 4   Phone: 323-306-4234
 5   Fax: 866-633-0228
     tfriedman@ toddflaw.com
 6
     abacon@ toddflaw.com
 7   Attorneys for Plaintiff
 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
                                                 ) Case No.
10   CORINTHIA MIMS, individually and )
11   on behalf of all others similarly situated, ) CLASS ACTION
                                                 )
12
     Plaintiff,                                  ) COMPLAINT FOR VIOLATIONS
13                                               ) OF:
14          vs.                                  )
                                                 )    1.    NEGLIGENT VIOLATIONS
15                                                          OF THE TELEPHONE
     PRIME CONSULTING LLC d/b/a                  )          CONSUMER PROTECTION
16   FINANCIAL PREPARATION                       )          ACT [47 U.S.C. §227(b)]
     SERVICES, and DOES 1 through 10, )               2.    WILLFUL VIOLATIONS
17                                                          OF THE TELEPHONE
     inclusive, and each of them,                )          CONSUMER PROTECTION
18                                               )          ACT [47 U.S.C. §227(b)]
19   Defendant.                                  )
                                                 ) DEMAND FOR JURY TRIAL
20                                               )
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 1           Plaintiff CORINTHIA MIMS (“Plaintiff”), individually and on behalf of all
 2   others similarly situated, alleges the following upon information and belief based
 3   upon personal knowledge:
 4                               NATURE OF THE CASE
 5           1.    Plaintiff brings this action individually and on behalf of all others
 6   similarly situated seeking damages and any other available legal or equitable
 7   remedies resulting from the illegal actions of PRIME CONSULTING LLC D/B/A
 8   FINANCIAL        PREPARTION        SERVICES      (“Defendant”),     in   negligently,
 9   knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular telephone in
10   violation of the Telephone Consumer Protection Act, 47. U.S.C. § 227 et seq.
11   (“TCPA”).
12                              JURISDICTION & VENUE
13           2.    Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
14   a resident of California, seeks relief on behalf of a Class, which will result in at
15   least one class member belonging to a different state than that of Defendant, a
16   Wyoming company. Plaintiff also seeks up to $1,500.00 in damages for each call
17   in violation of the TCPA, which, when aggregated among a proposed class in the
18   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
19   Therefore, both diversity jurisdiction and the damages threshold under the Class
20   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
21           3.    Venue is proper in the United States District Court for the Eastern
22   District of California pursuant to 28 U.S.C. 1391(b) and because Defendant does
23   business within the State of California and Plaintiff resides within the County of
24   Riverside.
25                                        PARTIES
26           4.    Plaintiff, CORINTHIA MIMS (“Plaintiff”), is a natural person
27   residing in Chatsworth, California and is a “person” as defined by 47 U.S.C. § 153
28   (39).


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 1         5.     Defendant, PRIME CONSULTING LLC D/B/A FINANCIAL
 2   PREPARTION SERVICES (“Defendant”) is document preparation company, and
 3   is a “person” as defined by 47 U.S.C. § 153 (39).
 4         6.     The above named Defendant, and its subsidiaries and agents, are
 5   collectively referred to as “Defendants.” The true names and capacities of the
 6   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 7   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 8   names. Each of the Defendants designated herein as a DOE is legally responsible
 9   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
10   Complaint to reflect the true names and capacities of the DOE Defendants when
11   such identities become known.
12         7.     Plaintiff is informed and believes that at all relevant times, each and
13   every Defendant was acting as an agent and/or employee of each of the other
14   Defendants and was acting within the course and scope of said agency and/or
15   employment with the full knowledge and consent of each of the other Defendants.
16   Plaintiff is informed and believes that each of the acts and/or omissions complained
17   of herein was made known to, and ratified by, each of the other Defendants.
18                              FACTUAL ALLEGATIONS
19         8.     Beginning in or around October of 2018, Defendant contacted
20   Plaintiff on Plaintiff’s cellular telephone number ending in -8202, in an attempt to
21   solicit Plaintiff to purchase Defendant’s services.
22         9.     Defendant used an “automatic telephone dialing system” as defined
23   by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
24         10.    Defendant contacted or attempted to contact Plaintiff from telephone
25   number (800) 425-0008.
26         11.    Defendant’s calls constituted calls that were not for emergency
27   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
28         12.    Defendant’s calls were placed to telephone number assigned to a


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 1   cellular telephone service for which Plaintiff incurs a charge for incoming calls
 2   pursuant to 47 U.S.C. § 227(b)(1).
 3         13.    During all relevant times, Defendant did not possess Plaintiff’s “prior
 4   express consent” to receive calls using an automatic telephone dialing system or an
 5   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 6   227(b)(1)(A).
 7         14.    Defendant placed multiple calls soliciting its business to Plaintiff on
 8   his cellular telephone ending in -8202 in or around October 2018.
 9         15.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
10   64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
11         16.    Plaintiff received numerous solicitation calls from Defendant within a
12   12-month period.
13         17.    Plaintiff requested for Defendant to stop calling Plaintiff during one
14   of the initial calls from Defendant, thus revoking any prior express consent that had
15   existed and terminating any established business relationship that had existed, as
16   defined under 16 C.F.R. 310.4(b)(1)(iii)(B).
17         18.    Upon information and belief, and based on Plaintiff’s experiences of
18   being called by Defendant after requesting they stop calling, and at all relevant
19   times, Defendant failed to establish and implement reasonable practices and
20   procedures to effectively prevent telephone solicitations in violation of the
21   regulations prescribed under 47 U.S.C. § 227(c)(5).
22                               CLASS ALLEGATIONS
23         19.    Plaintiff brings this action individually and on behalf of all others
24   similarly situated, as a member the four proposed classes (hereafter, jointly, “The
25   Classes”). The class concerning the ATDS claim for no prior express consent
26   (hereafter “The ATDS Class”) is defined as follows:
27
                  All persons within the United States who received any
28                solicitation/telemarketing  telephone    calls   from


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 1                 Defendant to said person’s cellular telephone made
                   through the use of any automatic telephone dialing
 2                 system or an artificial or prerecorded voice and such
 3                 person had not previously consented to receiving such
                   calls within the four years prior to the filing of this
 4
                   Complaint
 5
 6         20.     The class concerning the ATDS claim for revocation of consent, to the
 7   extent prior consent existed (hereafter “The ATDS Revocation Class”) is defined
 8   as follows:
 9
                   All persons within the United States who received any
10                 solicitation/telemarketing     telephone      calls    from
11                 Defendant to said person’s cellular telephone made
                   through the use of any automatic telephone dialing
12                 system or an artificial or prerecorded voice and such
13                 person had revoked any prior express consent to receive
                   such calls prior to the calls within the four years prior to
14
                   the filing of this Complaint.
15
16         21.     Plaintiff represents, and is a member of, The ATDS Class, consisting
17   of all persons within the United States who received any solicitation telephone calls
18   from Defendant to said person’s cellular telephone made through the use of any
19   automatic telephone dialing system or an artificial or prerecorded voice and such
20   person had not previously not provided their cellular telephone number to
21   Defendant within the four years prior to the filing of this Complaint.
22         22.     Plaintiff represents, and is a member of, The ATDS Revocation Class,
23   consisting of all persons within the United States who received any
24   solicitation/telemarketing telephone calls from Defendant to said person’s cellular
25   telephone made through the use of any automatic telephone dialing system or an
26   artificial or prerecorded voice and such person had revoked any prior express
27   consent to receive such calls prior to the calls within the four years prior to the
28   filing of this Complaint.


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 1         23.    Defendant, its employees and agents are excluded from The Classes.
 2   Plaintiff does not know the number of members in The Classes, but believes the
 3   Classes members number in the thousands, if not more. Thus, this matter should
 4   be certified as a Class Action to assist in the expeditious litigation of the matter.
 5         24.    The Class is so numerous that the individual joinder of all of its
 6   members is impractical. While the exact number and identities of The Classes
 7   members are unknown to Plaintiff at this time and can only be ascertained through
 8   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
 9   The Class includes thousands of members.           Plaintiff alleges that The Class
10   members may be ascertained by the records maintained by Defendant.
11         25.    Plaintiff and members of The ATDS Class and The ATDS Revocation
12   Class were harmed by the acts of Defendant in at least the following ways:
13   Defendant illegally contacted Plaintiff and ATDS Class members via their cellular
14   telephones thereby causing Plaintiff and ATDS Class and ATDS Revocation Class
15   members to incur certain charges or reduced telephone time for which Plaintiff and
16   ATDS Class and ATDS Revocation Class members had previously paid by having
17   to retrieve or administer messages left by Defendant during those illegal calls, and
18   invading the privacy of said Plaintiff and ATDS Class and ATDS Revocation Class
19   members.
20         26.    Common questions of fact and law exist as to all members of The
21   ATDS Class which predominate over any questions affecting only individual
22   members of The ATDS Class. These common legal and factual questions, which
23   do not vary between ATDS Class members, and which may be determined without
24   reference to the individual circumstances of any ATDS Class members, include,
25   but are not limited to, the following:
26                a.     Whether, within the four years prior to the filing of this
27                       Complaint, Defendant made any telemarketing/solicitation call
28                       (other than a call made for emergency purposes or made with


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 1                      the prior express consent of the called party) to a ATDS Class
 2                      member using any automatic telephone dialing system or any
 3                      artificial or prerecorded voice to any telephone number
 4                      assigned to a cellular telephone service;
 5                b.    Whether Plaintiff and the ATDS Class members were damaged
 6                      thereby, and the extent of damages for such violation; and
 7                c.    Whether Defendant should be enjoined from engaging in such
 8                      conduct in the future.
 9         27.    As a person that received numerous telemarketing/solicitation calls
10   from Defendant using an automatic telephone dialing system or an artificial or
11   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
12   claims that are typical of The ATDS Class.
13         28.    Common questions of fact and law exist as to all members of The
14   ATDS Revocation Class which predominate over any questions affecting only
15   individual members of The ATDS Revocation Class. These common legal and
16   factual questions, which do not vary between ATDS Revocation Class members,
17   and which may be determined without reference to the individual circumstances of
18   any ATDS Revocation Class members, include, but are not limited to, the
19   following:
20                a.    Whether, within the four years prior to the filing of this
21                      Complaint, Defendant made any telemarketing/solicitation call
22                      (other than a call made for emergency purposes or made with
23                      the prior express consent of the called party) to an ATDS
24                      Revocation Class member, who had revoked any prior express
25                      consent to be called using an ATDS, using any automatic
26                      telephone dialing system or any artificial or prerecorded voice
27                      to any telephone number assigned to a cellular telephone
28                      service;


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 1                b.     Whether Plaintiff and the ATDS Revocation Class members
 2                       were damaged thereby, and the extent of damages for such
 3                       violation; and
 4                c.     Whether Defendant should be enjoined from engaging in such
 5                       conduct in the future.
 6         29.    As a person that received numerous telemarketing/solicitation calls
 7   from Defendant using an automatic telephone dialing system or an artificial or
 8   prerecorded voice, after Plaintiff had revoked any prior express consent, Plaintiff
 9   is asserting claims that are typical of The ATDS Revocation Class.
10         30.    Plaintiff will fairly and adequately protect the interests of the members
11   of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
12   class actions.
13         31.    A class action is superior to other available methods of fair and
14   efficient adjudication of this controversy, since individual litigation of the claims
15   of all Classes members is impracticable. Even if every Classes member could
16   afford individual litigation, the court system could not. It would be unduly
17   burdensome to the courts in which individual litigation of numerous issues would
18   proceed. Individualized litigation would also present the potential for varying,
19   inconsistent, or contradictory judgments and would magnify the delay and expense
20   to all parties and to the court system resulting from multiple trials of the same
21   complex factual issues. By contrast, the conduct of this action as a class action
22   presents fewer management difficulties, conserves the resources of the parties and
23   of the court system, and protects the rights of each Classes member.
24         32.    The prosecution of separate actions by individual Class members
25   would create a risk of adjudications with respect to them that would, as a practical
26   matter, be dispositive of the interests of the other Class members not parties to such
27   adjudications or that would substantially impair or impede the ability of such non-
28   party Class members to protect their interests.


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 1         33.     Defendant has acted or refused to act in respects generally applicable
 2   to The Class, thereby making appropriate final and injunctive relief with regard to
 3   the members of the Classes as a whole.
 4                             FIRST CAUSE OF ACTION
 5          Negligent Violations of the Telephone Consumer Protection Act
 6                                    47 U.S.C. §227(b).
 7               On Behalf of the ATDS Class and ATDS Revocation Class
 8         34.     Plaintiff repeats and incorporates by reference into this cause of action
 9   the allegations set forth above at Paragraphs 1-44.
10         35.     The foregoing acts and omissions of Defendant constitute numerous
11   and multiple negligent violations of the TCPA, including but not limited to each
12   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
13   47 U.S.C. § 227 (b)(1)(A).
14         36.     As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
15   Plaintiff and the Class Members are entitled an award of $500.00 in statutory
16   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
17         37.     Plaintiff and the ATDS Class and ATDS Revocation Class members
18   are also entitled to and seek injunctive relief prohibiting such conduct in the future.
19                            SECOND CAUSE OF ACTION
20    Knowing and/or Willful Violations of the Telephone Consumer Protection
21                                            Act
22                                    47 U.S.C. §227(b)
23           On Behalf of the ATDS Class and the ATDS Revocation Class
24         38.     Plaintiff repeats and incorporates by reference into this cause of action
25   the allegations set forth above at Paragraphs 1-44.
26         39.     The foregoing acts and omissions of Defendant constitute numerous
27   and multiple knowing and/or willful violations of the TCPA, including but not
28   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),


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 1    and in particular 47 U.S.C. § 227 (b)(1)(A).
 2          40.    As a result of Defendant’s knowing and/or willful violations of 47
 3    U.S.C. § 227(b), Plaintiff and the ATDS Class and ATDS Revocation Class
 4    members are entitled an award of $1,500.00 in statutory damages, for each and
 5    every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 6          41.    Plaintiff and the Class members are also entitled to and seek injunctive
 7    relief prohibiting such conduct in the future.
 8
 9                                 PRAYER FOR RELIEF
10    WHEREFORE, Plaintiff requests judgment against Defendant for the following:
11                              FIRST CAUSE OF ACTION
12           Negligent Violations of the Telephone Consumer Protection Act
13                                    47 U.S.C. §227(b)
14                 As a result of Defendant’s negligent violations of 47 U.S.C.
15                 §227(b)(1), Plaintiff and the ATDS Class and ATDS Revocation
16                 Class members are entitled to and request $500 in statutory damages,
17                 for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B).
18                 Any and all other relief that the Court deems just and proper.
19
20                            SECOND CAUSE OF ACTION
21     Knowing and/or Willful Violations of the Telephone Consumer Protection
22                                            Act
23                                    47 U.S.C. §227(b)
24                 As a result of Defendant’s willful and/or knowing violations of 47
25                 U.S.C. §227(b)(1), Plaintiff and the ATDS Class and ATDS
26                 Revocation Class members are entitled to and request treble damages,
27                 as provided by statute, up to $1,500, for each and every violation,
28                 pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).


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 1               Any and all other relief that the Court deems just and proper.
 2
 3
           Respectfully Submitted this 8th Day of March, 2019.
 4
                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 5
 6                                    By: /s/ Todd M. Friedman
                                          Todd M. Friedman
 7
                                          Law Offices of Todd M. Friedman
 8                                        Attorney for Plaintiff
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